                                                                  Case 1:18-cv-01676-JLT-SAB Document 66 Filed 02/16/23 Page 1 of 15


                                                              1    Edwin Aiwazian (Cal. State Bar No. 232943)
                                                                   Arby Aiwazian (Cal. State Bar No. 269827)
                                                              2    Joanna Ghosh (Cal. State Bar No. 272479)
                                                                   Ovsanna Takvoryan (Cal. State Bar No. 217435)
                                                              3    LAWYERS for JUSTICE, PC
                                                                   410 West Arden Avenue, Suite 203
                                                              4    Glendale, California 91203
                                                                   Tel: (818) 265-1020 / Fax: (818) 265-1021
                                                              5
                                                                   Attorneys for Plaintiffs Thomas Beltran, Mario Martinez, Juan Rivera and the Class
                                                              6

                                                              7    [Additional Counsel on following page]
                                                              8

                                                              9                                UNITED STATES DISTRICT COURT
                                                             10                        FOR THE EASTERN DISTRICT OF CALIFORNIA
LAWYERS for JUSTICE, PC




                                                             11   THOMAS BELTRAN, MARIO MARTINEZ,                    Case No.: 1:18-cv-01676-JLT-SAB
                          410 West Arden Avenue, Suite 203




                                                                  MARIA CLAUDIA OBESO COTA,
                              Glendale, California 91203




                                                             12   individually, and on behalf of other members
                                                                  of the general public similarly situated; JUAN     CLASS ACTION
                                                             13
                                                                  RIVERA, ALEXANDER SOLORIO,
                                                                  individually, and on behalf of other members       OBJECTIONS TO MAGISTRATE
                                                             14                                                      JUDGE’S FINDINGS AND
                                                                  of the general public similarly situated and on
                                                                  behalf of other aggrieved employees pursuant       RECOMMENDATIONS
                                                             15
                                                                  to the California Private Attorneys General
                                                             16   Act,
                                                             17                  Plaintiffs,
                                                             18          vs.
                                                             19
                                                                  OLAM SPICES AND VEGETABLES, INC.,                  Complaint Filed:        July 5, 2015
                                                             20   an unknown business entity; and DOES 1             FAC Filed:              November 10, 2015
                                                                  through 100, inclusive,                            SAC Filed:              April 25, 2016
                                                             21                                                      TAC Filed:              April 11, 2018
                                                                                 Defendants.                         Trial Date:             None Set
                                                             22

                                                             23

                                                             24

                                                             25

                                                             26
                                                             27

                                                             28


                                                                          OBJECTIONS TO MAGISTRATE JUDGE’S FINDINGS AND RECOMMENDATIONS
                                                                  Case 1:18-cv-01676-JLT-SAB Document 66 Filed 02/16/23 Page 2 of 15

                                                                   Joseph Lavi (Cal. State Bar No. 209776)
                                                              1
                                                                   Vincent C. Granberry (Cal. State Bar No. 276483)
                                                              2    LAVI & EBRAHIMIAN, LLP
                                                                   8889 Olympic Blvd., Suite 200
                                                              3    Beverly Hills, California 90211
                                                                   Tel: (310) 432-000 / Fax: (310) 432-0001
                                                              4
                                                                   Sahag Majarian II (Cal. State Bar No. 146621)
                                                              5
                                                                   LAW OFFICE OF SAHAG MAJARIAN II
                                                              6    18250 Ventura Boulevard
                                                                   Tarzana, California 91356
                                                              7    Tel: (818) 609-0807 / Fax: (818) 609-0892
                                                              8
                                                                   Attorneys for Plaintiffs Maria Claudia Obeso Cota and Alexander Solorio
                                                              9
                                                             10
LAWYERS for JUSTICE, PC




                                                             11
                          410 West Arden Avenue, Suite 203
                              Glendale, California 91203




                                                             12

                                                             13

                                                             14

                                                             15

                                                             16

                                                             17

                                                             18

                                                             19

                                                             20

                                                             21

                                                             22

                                                             23

                                                             24

                                                             25

                                                             26
                                                             27

                                                             28

                                                                                                        1
                                                                        OBJECTIONS TO MAGISTRATE JUDGE’S FINDINGS AND RECOMMENDATIONS
                                                                  Case 1:18-cv-01676-JLT-SAB Document 66 Filed 02/16/23 Page 3 of 15


                                                              1    I.     OBJECTIONS

                                                              2            Plaintiffs Thomas Beltran, Mario Martinez, Juan Rivera, Maria Claudia Obeso Cota, and

                                                              3    Alexander Solorio (together “Plaintiffs”) present the following objections Magistrate Stanley A.

                                                              4    Boone’s Findings and Recommendations Recommending Granting Motion for Final Approval
                                                                   of Class Action Settlement and Granting Motion for Attorneys’ Fees, Costs, and Incentive
                                                              5
                                                                   Awards in Part With Reduction in Fees, Costs, and Awards (“Magistrate’s Order”) (Doc. No.
                                                              6
                                                                   65):
                                                              7
                                                                          A.      Magistrate’s Findings and Recommendations in Connection with the
                                                              8
                                                                                  Plaintiffs’ Motion for Final Approval of Class and Collective Action
                                                              9
                                                                                  Settlement
                                                             10
                                                                           The Magistrate’s Order recommends that Plaintiffs’ Motion for Final Approval of Class
LAWYERS for JUSTICE, PC




                                                             11
                                                                   and Collective Action Settlement (“Motion for Final Approval”) (Doc. No. 58), be granted and
                          410 West Arden Avenue, Suite 203
                              Glendale, California 91203




                                                             12
                                                                   the Court approve the settlement as fair, reasonable, and adequate, subject to addressing the
                                                             13    specific areas of inquiry identified therein. As noted in the Magistrate’s Order, the Court expects
                                                             14    Plaintiffs to address the issues identified therein, including: (1) a lack of updated numbers
                                                             15    provided by Simpluris from the date of the filing of the motion for final approval until the final
                                                             16    approval hearing, including information pertaining to Omitted Class Members; (2) the incorrect
                                                             17    final approval hearing date contained in the Notice Packet; and (3) information pertaining to
                                                             18    reminder postcards, email notice, and text blasts, generally and as to Omitted Class Members.

                                                             19    (See Magistrate’s Order, p. 67, FN 17).

                                                             20           1. Information Pertaining to Reminder Postcards, Email Notice, and Text Blasts,

                                                             21                Generally and As to Omitted Class Members

                                                             22            As set forth in the Supplemental Declaration of Lindsay Kline Regarding Notice and
                                                                   Settlement Administration filed concurrently herewith (“Supplemental Kline Declaration” or
                                                             23
                                                                   “Kline Supp Decl.”), on August 12, 2022, Simpluris emailed all Initial Class Members a copy
                                                             24
                                                                   of the Initial Notice Packets for whom an email address was available in the Class List contact
                                                             25
                                                                   information. (Kline Supp Decl., ¶ 9). A total of one thousand seven hundred and four (1,704)
                                                             26
                                                                   Initial Notice Packets were emailed. (Ibid.). On August 12, 2022, Simpluris sent text messages
                                                             27
                                                                   to five thousand four hundred and thirty (5,430) Initial Class Members for whom a phone
                                                             28
                                                                   number was available in the Class List contact information. (Id., ¶ 10). On September 19, 2022,
                                                                                                          2
                                                                          OBJECTIONS TO MAGISTRATE JUDGE’S FINDINGS AND RECOMMENDATIONS
                                                                  Case 1:18-cv-01676-JLT-SAB Document 66 Filed 02/16/23 Page 4 of 15


                                                              1    a Reminder Letter was sent to every Initial Class Member who had not yet submitted an FLSA

                                                              2    Opt-In Form. A total of seven thousand seven hundred and three (7,703) Reminder Letters were

                                                              3    sent. (Kline Supp Decl., ¶ 11).

                                                              4           On October 21, 2022, Simpluris sent a Notice Packet to five hundred and sixty-two (562)
                                                                   Omitted Class Members via First Class mail. (Id., ¶ 14). Based on Simpluris’ misunderstanding,
                                                              5
                                                                   Simpluris did not email notices, send a text blast or Reminder Letters to the Omitted Class
                                                              6
                                                                   Members. (Id., ¶ 15).
                                                              7
                                                                         2. Updated Numbers Provided by Simpluris From the Date of the Filing of the
                                                              8
                                                                              Motion for Final Approval Pertaining to Omitted Class Members
                                                              9
                                                                          As set forth in the Supplemental Kline Declaration, the deadline for Omitted Class
                                                             10
                                                                   Members to submit a Request for Exclusion, Object to the Settlement (“Objection”), or dispute
LAWYERS for JUSTICE, PC




                                                             11
                                                                   workweeks (“Dispute”) was December 20, 2022. (Kline Supp Decl., ¶ 18). As of the filing of
                          410 West Arden Avenue, Suite 203
                              Glendale, California 91203




                                                             12
                                                                   this Objection, Simpluris has received one (1) Request for Exclusion from an Omitted Class
                                                             13    Member. (Id., ¶ 19). As of the filing of this Objection, Simpluris received thirteen (13) FLSA
                                                             14    Claim Forms from FLSA Omitted Members. (Id., ¶ 20). As of the filing of this Objection,
                                                             15    Simpluris has not received any Objections to the Settlement from Omitted Class Members. (Id.,
                                                             16    ¶ 21). As of the filing of this Objection, Simpluris has not received any Disputes regarding
                                                             17    workweeks from Omitted Class Members. (Kline Supp Decl., ¶ 22).
                                                             18          3. The Incorrect Final Approval Hearing Date Contained in the Notice Packet

                                                             19           The Class Notice Packet for both Initial Class Members and Omitted Class Members

                                                             20    stated a final approval hearing date of January 23, 2023. (Kline Supp Decl., ¶ 17). The correct

                                                             21    hearing date should have been listed as January 25, 2023. This was an inadvertent typographical

                                                             22    error by Simpluris. The FLSA Notice sent to both Initial Class Members and Omitted Class
                                                                   Members stated the correct final approval hearing date of January 25, 2023.
                                                             23
                                                                         B.      Magistrate’s Findings and Recommendations in Connection with the
                                                             24
                                                                                 Plaintiffs’ Motion for Attorneys’ Fees and Costs and Incentive Awards
                                                             25
                                                                          The Magistrate’s Order recommends that Plaintiffs’ Motion for Attorneys’ Fees and
                                                             26
                                                                   Costs and Incentive Awards (“Fee Motion”) (Doc. No. 60), be granted in part, subject to the
                                                             27
                                                                   following recommended reductions:
                                                             28
                                                                              a. Attorneys’ fees be reduced from 35% of the total settlement fund to 20%, and be
                                                                                                        3
                                                                        OBJECTIONS TO MAGISTRATE JUDGE’S FINDINGS AND RECOMMENDATIONS
                                                                  Case 1:18-cv-01676-JLT-SAB Document 66 Filed 02/16/23 Page 5 of 15


                                                              1                     awarded in the amount of $900,000.00, reduced from $1,575,000.00;

                                                              2               b. Expenses be awarded to Lawyers for Justice, PC in the amount of $25,626.02,

                                                              3                     reduced from $41,748.54;

                                                              4               c. Expenses be awarded to Lavi & Ebrahimian, LLP in the amount of $8,731.23,
                                                                                    reduced from $14,666.97;
                                                              5
                                                                              d. Expenses be awarded to the Law Office of Sahag Majarian, II in the amount of
                                                              6
                                                                                    $1,669.06, reduced from $6,785,72;18
                                                              7
                                                                              e. Plaintiffs Thomas Beltran (“Plaintiff Beltran”), Mario Martinez (“Plaintiff
                                                              8
                                                                                    Martinez”), Maria Claudia Obeso Cota (“Plaintiff Cota”), and Alexander Solorio
                                                              9
                                                                                    (“Plaintiff Solorio”), each receive $5,000.00 as an incentive award, reduced from
                                                             10
                                                                                    $7,5000.00; and
LAWYERS for JUSTICE, PC




                                                             11
                                                                              f. Plaintiff Juan Rivera (“Plaintiff Rivera”) receive $3,500.00 as an incentive award.
                          410 West Arden Avenue, Suite 203
                              Glendale, California 91203




                                                             12
                                                                           Plaintiffs object to the Magistrate’s Order to the extent it recommends any reductions to
                                                             13
                                                                   the reimbursement of litigation costs and expenses requested by Lawyers for Justice, PC, Lavi
                                                             14
                                                                   & Ebrahimian, LLP, and the Law Office of Sahag Majarian, II (collectively, referred to as
                                                             15
                                                                   “Plaintiffs’ Counsel”), and to the extent it recommends reductions in the Incentive Awards to
                                                             16
                                                                   be awarded to Plaintiff Beltran and Plaintiff Martinez.
                                                             17
                                                                          1. Objections to the Recommended Reduction in Expenses to be Awarded to Lawyers
                                                             18
                                                                              for Justice, PC
                                                             19
                                                                           The Magistrate’s Order recommends reduction of the fees sought by Lawyers for Justice,
                                                             20
                                                                   PC in the amount of $11,052.39 for mediation fees subject to clarification in objections, and a
                                                             21
                                                                   reduction of $5,070.13 in travel expenses from Lawyers for Justice, PC’s sought costs, subject to
                                                             22
                                                                   objections. The Magistrate’s Order recommends no mediation fees be awarded unless objections
                                                             23
                                                                   clearly present the receipts and fee breakdown between Plaintiffs’ Counsel. The Magistrate’s Order
                                                             24
                                                                   finds it reasonable to allow for clarification of the mediation fees in objections, and to the extent the
                                                             25
                                                                   District Judge is inclined to consider, clarification of the travel expenses for Lawyers for Justice.
                                                             26
                                                                   The Magistrate’s Order finds the remainder of the expenses incurred by Lawyers for Justice, PC to
                                                             27
                                                                   be reasonable.
                                                             28

                                                                                                         4
                                                                         OBJECTIONS TO MAGISTRATE JUDGE’S FINDINGS AND RECOMMENDATIONS
                                                                  Case 1:18-cv-01676-JLT-SAB Document 66 Filed 02/16/23 Page 6 of 15


                                                              1             The mediation fees in the amount of $11,052.39 incurred by Lawyers for Justice, PC and

                                                              2    the travel expenses in the amount of $4,062.101 incurred by Lawyers for Justice, PC, were

                                                              3    reasonable and necessary in the prosecution of this matter and to obtain the Settlement and should

                                                              4    be allowed in full.

                                                              5             Medication Fees Breakdown Between Plaintiffs’ Counsel

                                                              6             As indicated in the Motion for Final Approval as well as the Fee Motion, after conducting

                                                              7    significant investigation into the facts and law in the course of litigating the Actions, Plaintiffs and

                                                              8    Defendant engaged in extensive settlement negotiations to try to resolve the Actions. These efforts

                                                              9    included participating two (2) formal, full-day private mediation sessions conducted by the

                                                             10    Honorable Edward Infante (Ret.), a retired federal magistrate judge who is highly experienced in

                                                                   mediating complex wage-and-hour matters, and extensive settlement negotiations thereafter. The
LAWYERS for JUSTICE, PC




                                                             11
                          410 West Arden Avenue, Suite 203




                                                                   first mediation was held on December 13, 2016 (the “First Mediation Session”), and the second
                              Glendale, California 91203




                                                             12

                                                             13    mediation was held on January 25, 2017 (the “Second Mediation Session”).

                                                             14             In connection with the First Mediation Session, Plaintiffs and Defendant Olam West Coast,

                                                             15    Inc. (“Defendant”) were billed a total of $14,000.00, split between Lawyers for Justice, PC, the

                                                             16    Law Office of Sahag Majarian, II, and Defendant, with $4,666.67 due from each. A copy of the

                                                             17    invoice from Jams, Inc. for the First Mediation Session sent to Lawyers for Justice, PC, evidencing

                                                             18    the total amount billed and that the total amount was billed to 3 parties, is attached as “Exhibit 1” to

                                                             19    the Declaration of Joanna Ghosh filed concurrently herewith (“Ghosh Declaration” or “Ghosh

                                                             20    Decl.”). (Ghosh Decl., ¶ 8). In addition to the $4,666.67 fee, each party was charged an “Initial

                                                             21    Non-Refundable Fee” in the amount of $450.00. (Ghosh Decl., ¶ 8 and Exh. 1). Lawyers for

                                                             22    Justice, PC paid its share of the total fee, including the Initial Non-Refundable Fee, for the First

                                                             23    Mediation Session, in the amount of $5,116.67, on December 5, 2016. (Ghosh Decl., ¶ 9 and

                                                             24    Exh. 2).

                                                             25             In connection with the Second Mediation Session, the Parties were again billed a total of

                                                             26    $14,000.00, split between Lawyers for Justice, PC, Lavi & Ebrahimian, LLP, and Defendant with

                                                             27
                                                                   1 For the reasons stated herein and in the Ghosh Declaration filed concurrently herewith, Lawyers for Justice, PC will
                                                             28    not be seeking reimbursement for a duplicative entry in the amount of $66.12 and will be withdrawing a request for a
                                                                   cost item in the amount of $941.91.
                                                                                                          5
                                                                          OBJECTIONS TO MAGISTRATE JUDGE’S FINDINGS AND RECOMMENDATIONS
                                                                  Case 1:18-cv-01676-JLT-SAB Document 66 Filed 02/16/23 Page 7 of 15


                                                              1    $4,666.67 due from each. A copy of the invoice from Jams, Inc. for the Second Mediation Session

                                                              2    sent to Lawyers for Justice, PC, evidencing the total amount billed and that the total amount was

                                                              3    billed to 3 parties, is attached as “Exhibit 3” to the Ghosh Declaration. In addition to the $4,666.67

                                                              4    fee, each party was charged a “Case Management Fee” in the amount of $420.00. (Ghosh Decl.,

                                                              5    ¶ 10 and Exh. 3). Lawyers for Justice, PC paid its share of the total fee, including the Case

                                                              6    Management Fee, for the Second Mediation Session, in the amount of $5,086.67, on January

                                                              7    23, 2017. (Ghosh Decl., ¶ 11 and Exh. 4).

                                                              8               Following the Second Mediation Session, the Parties received a final bill from Jams, Inc.

                                                              9    billing: (1) $450.00 (split between three (3) parties) for the Honorable Edward Infante (Ret.) issuing

                                                             10    “Mediator settlement proposal” on February 17, 2017; (2) $450.00 (split between Lawyers for

                                                                   Justice, PC, Lavi & Ebrahimian, LLP, and Defendant) for a “Joint Conference call after
LAWYERS for JUSTICE, PC




                                                             11
                          410 West Arden Avenue, Suite 203




                                                                   acceptance of settlement proposal” held on March 10, 2017; and (3) $1,350.00 (split between three
                              Glendale, California 91203




                                                             12

                                                             13    (3) payors) for “February, 2017 and March, 2017 Telephone conference with counsel on March 14,

                                                             14    2017. A copy of the third invoice from Jams, Inc. following the Second Mediation Session sent to

                                                             15    Lawyers for Justice, PC, evidencing the amounts billed and that the total amounts were billed to 3

                                                             16    payors (the “Third Mediation Invoice”), is attached as “Exhibit 5” to the Ghosh Declaration. (Ghosh

                                                             17    Decl., ¶ 12). In addition to the amounts stated above, each party was charged a “Case

                                                             18    Management Fee” in the amount of $90.00, which amount was included in the Third Mediation

                                                             19    Invoice, and collectively billed a “Conference Charge for conference call on 2/14/17 between

                                                             20    Neutral and counsel” in the amount of $14.42 (split between three (3) payors), and a “Conference

                                                             21    Charge for conference call on 3/10/17 between Neutral and counsel” in the amount of $12.74

                                                             22    (split between three (3) payors). (Ghosh Decl., ¶ 12 and Exh. 5). Lawyers for Justice, PC paid

                                                             23    its share of the Third Mediation Invoice, in the amount of $849.05, on April 4, 2017. (Ghosh

                                                             24    Decl, ¶ 13 and Exh. 6).

                                                             25               Thus, Lawyers for Justice, PC paid a total of $11,052.39 in mediation fees as evidenced

                                                             26    by Exhibits 1 through 6, attached to the Ghosh Declaration, which mediation fees were reasonable

                                                             27    and necessary in the prosecution of this matter and to obtain the Settlement and should be allowed

                                                             28    in full.

                                                                                                          6
                                                                          OBJECTIONS TO MAGISTRATE JUDGE’S FINDINGS AND RECOMMENDATIONS
                                                                  Case 1:18-cv-01676-JLT-SAB Document 66 Filed 02/16/23 Page 8 of 15


                                                              1           Travel Expenses Incurred by Lawyers for Justice, PC

                                                              2           Below is a clarification of the travel expenses listed in the Cost Detail Report that is attached

                                                              3    as Exhibit B to the Declaration of Edwin Aiwazian filed on December 22, 2022 (Doc. No. 60-1),

                                                              4    totaling $5,070.13, for which Lawyers for Justice, PC sought reimbursement:

                                                              5          a. Cost item: 12/7/2015 - Romina Keshishyan - Travel Reimbursement - $941.91.

                                                              6             Romina Keshishyan was an associate attorney at Lawyers for Justice, PC who was

                                                              7             assigned to work on this matter. The $941.91 charges consist of: airfare, Uber, hotel,

                                                              8             and meals to attend a Case Management Conference in Fresno on December 7, 2015,

                                                              9             as reflected in the Minute Order attached as “Exhibit 7” to the Ghosh Declaration.

                                                             10             Romina Keshishyan is no longer at Lawyers for Justice, PC and based on my

                                                                            additional review of hand-written notes in Ms. Keshishyan’s reimbursement request,
LAWYERS for JUSTICE, PC




                                                             11
                          410 West Arden Avenue, Suite 203
                              Glendale, California 91203




                                                             12             I have reason to believe that she was appearing for hearings in multiple cases in Fresno

                                                             13             Superior Court on or around the same day, as such Lawyers for Justice, PC hereby

                                                             14             withdraws the request for reimbursement for this cost item.

                                                             15          b. Cost item: 6/17/2016 - Ashley Cruz - Travel Reimbursement - $252.03. Ashley Cruz

                                                             16             was an associate attorney at Lawyers for Justice, PC who was assigned to work on

                                                             17             this matter. The $252.03 charges consist of: mileage from Mr. Cruz’s Los Angeles-

                                                             18             area residence to Fresno Superior Court for a Pre-Trial Discovery Conference that

                                                             19             took place on June 17, 2016 ($115.20); mileage from Fresno Superior Court back to

                                                             20             Lawyers for Justice, PC’s Glendale, California office ($115.20); and costs for

                                                             21             breakfast ($17.54) and coffee ($4.45).          Attached as “Exhibit 8” to the Ghosh

                                                             22             Declaration is a true and correct copy of the check evidencing the payment of the

                                                             23             travel reimbursement from Lawyers for Justice, PC to Ashley Cruz for “6/17/16

                                                             24             Hearing Travel Reimb. (Olam)” in the amount of $252.03 plus $33.87 for a travel

                                                             25             reimbursement in connection with another matter.

                                                             26          c. Cost item: 7/8/2016 - Romina Keshishyan - Travel Reimbursement - $473.16. The

                                                             27             $473.16 charges consist of: mileage from Lawyers for Justice, PC’s Glendale,

                                                             28             California office to a hotel in Fresno, mileage from the hotel in Fresno to the Fresno

                                                                                                        7
                                                                        OBJECTIONS TO MAGISTRATE JUDGE’S FINDINGS AND RECOMMENDATIONS
                                                                  Case 1:18-cv-01676-JLT-SAB Document 66 Filed 02/16/23 Page 9 of 15


                                                              1            Superior Court, and mileage from the Fresno Superior Court back to Lawyers for

                                                              2            Justice, PC’s Glendale, California office (totaling $250.70 for 436 miles), for a Pre-

                                                              3            Trial Discovery Conference that took place on July 8, 2016; hotel accommodations

                                                              4            ($201.10); and costs for lunch ($18.36) and parking ($3.00). Attached as “Exhibit 9”

                                                              5            to the Ghosh Declaration are true and correct copies of the email confirmation of the

                                                              6            hotel reservation and payment as well as the receipts of the lunch and parking

                                                              7            payments.

                                                              8         d. Cost item: 7/18/2016 - Arya Djafroudi - Travel Reimbursement - $204.66. Arya

                                                              9            Djafroudi was an associate attorney at Lawyers for Justice, PC who was assigned to

                                                             10            work on this matter. The item in question consists of a non-refundable payment for a
LAWYERS for JUSTICE, PC




                                                             11            hotel reservation (check-in date of August 11, 2016) (in the amount of $204.33) for a
                          410 West Arden Avenue, Suite 203
                              Glendale, California 91203




                                                             12            Pre-trial Discovery Conference that was scheduled to be held on August 12, 2016, but

                                                             13            was continued by stipulation of the Parties on August 11, 2016. It should be noted

                                                             14            that the Case Cost Detail submitted to the Court on December 22, 2023, as Exhibit B

                                                             15            to the Declaration of Edwin Aiwazian (Doc. No. 60-1), references a July 18, 2016 date

                                                             16            because that was the date listed in the expense reimbursement report submitted by

                                                             17            Arya Djafroudi and references the amount of $204.66 because Mr. Djafroudi was

                                                             18            inadvertently reimbursed in that amount instead of $204.33 (a difference of $0.33),

                                                             19            As such, Lawyers for Justice, PC hereby reduces the request for reimbursement for

                                                             20            this cost item to $204.33 from $204.66. Attached as “Exhibit 10” to the Ghosh

                                                             21            Declaration are true and correct copies of the confirmation from priceline.com of the

                                                             22            hotel reservation and a letter dated August 11, 2016, addressed to the Fresno County

                                                             23            Superior Court from counsel for Defendant informing the Court of their stipulation to

                                                             24            continue the August 12, 2016 pre-trial discovery conference.

                                                             25         e. Cost item: 12/9/2016 - Ashley Cruz - Travel Reimbursement - $456.20. The $456.20

                                                             26            charge consists of a roundtrip airplane flight from Burbank to San Francisco and back

                                                             27            for the First Mediation Session that took place on December 13, 2016. Attached as

                                                             28            “Exhibit 11” to the Ghosh Declaration are true and correct copies of the check

                                                                                                        8
                                                                        OBJECTIONS TO MAGISTRATE JUDGE’S FINDINGS AND RECOMMENDATIONS
                                                                  Case 1:18-cv-01676-JLT-SAB Document 66 Filed 02/16/23 Page 10 of 15


                                                              1             evidencing the payment of the travel reimbursement from Lawyers for Justice, PC to

                                                              2             Ashley Cruz, and a one page printout evidencing the cost of the flight.

                                                              3          f. Cost item: 12/13/2016 - Ashley Cruz - Travel Reimbursement - $147.70. The $147.70

                                                              4             charge consists of: transportation by Uber to the Burbank airport for the flight to San

                                                              5             Francisco for the First Mediation Session ($16.35); transportation by Uber from the

                                                              6             San Francisco airport to the hotel in San Francisco ($39.94); transportation by Uber

                                                              7             to the San Francisco airport for the flight back to the Burbank airport ($35.51); a meal

                                                              8             at the airport ($43.62); and transportation bu Uber from the Burbank airport to

                                                              9             Lawyers for Justice, PC’s Glendale, California office ($13.18). Attached as “Exhibit

                                                             10             12” to the Ghosh Declaration are true and correct copies of the Uber charges and a
LAWYERS for JUSTICE, PC




                                                             11             receipt for the meal at the airport.
                          410 West Arden Avenue, Suite 203
                              Glendale, California 91203




                                                             12          g. Cost item: 12/15/2016 - Kristina Noel Buan - Travel Reimbursement - $422.42.

                                                             13             Kristina Noel Buan was an associate attorney of Lawyers for Justice, PC who was

                                                             14             assigned to work on this matter. The $422.42 charge consists of: mileage from

                                                             15             Lawyers for Justice, PC’s Glendale, California office to a hotel in Fresno, mileage

                                                             16             from the hotel in Fresno to the Fresno Superior Court, and mileage from Fresno

                                                             17             Superior Court to Lawyers for Justice, PC’s Glendale, California office (totaling

                                                             18             $245.46 for 446.29 miles), for a Pre-Trial Discovery Conference that took place on

                                                             19             December 16, 2016; and one night hotel accommodations in Fresno ($176.96).

                                                             20             Attached as “Exhibit 13” to the Ghosh Declaration is a true and correct copy of the

                                                             21             bill from DoubleTree hotel.

                                                             22          h. Cost item: 1/6/2017 - Ashley Cruz - Travel Reimbursement - $247.34. The $247.34

                                                             23             charges consist of: traveling from Glendale, California to the Fresno Superior Court

                                                             24             for a Pre-Trial Discovery Conference that took place on January 6, 2017 ($116.10);

                                                             25             traveling from the Fresno Superior Court back to Lawyers for Justice, PC’s Glendale,

                                                             26             California office ($116.10); and costs for lunch ($7.94) and coffee ($7.20). Attached

                                                             27             as “Exhibit 14” to the Ghosh Declaration is a true and correct copy of the receipts for

                                                             28             the lunch and coffee.

                                                                                                        9
                                                                        OBJECTIONS TO MAGISTRATE JUDGE’S FINDINGS AND RECOMMENDATIONS
                                                                  Case 1:18-cv-01676-JLT-SAB Document 66 Filed 02/16/23 Page 11 of 15


                                                              1          i. Cost item: 1/25/2017 - Ashley Cruz - Travel Reimbursement - $149.91. The $149.91

                                                              2             charges consist of: transportation by Uber from the San Francisco airport ($36.44) to

                                                              3             a hotel in San Francisco; dinner ($64.44); transportation by Uber from the hotel in

                                                              4             San Fracnsico to the First Mediation Session ($8.55); transportation by Uber from the

                                                              5             First Mediation Session to the San Fransciso airport ($31.27); and costs for a meal at

                                                              6             the airport ($9.21). Attached as “Exhibit 15” to the Ghosh Declaration are true and

                                                              7             correct copies of the receipts for the meals and Uber transportation.

                                                              8          j. Cost item: 1/25/2017 - Maryam Jafari - Travel Reimbursement - $419.24. Maryam

                                                              9             Jafari was a law clerk at Lawyers for Justice, PC who was assigned to work on this

                                                             10             matter along with attorneys at Lawyers for Justice, PC who were working on this

                                                                            matter. The $419.24 charges consist of: transportation by Uber from Ms. Jafari’s Los
LAWYERS for JUSTICE, PC




                                                             11
                          410 West Arden Avenue, Suite 203
                              Glendale, California 91203




                                                             12             Angeles-area residence to the Burbank airport for the flight to the Oakland airport for

                                                             13             the Second Mediation Session ($62.73); transportation by Uber from the Oakland

                                                             14             airport to a hotel in San Francisco ($93.00); transportation by Uber from the hotel in

                                                             15             San Francisco to the Second Mediation Session ($13.18); transportation by Uber back

                                                             16             to the hotel in San Francisco from the Second Mediation Session ($17.50);

                                                             17             transportation from the hotel in San Francisco to the San Francisco airport for the

                                                             18             flight back to the Burbank airport ($30.93); and costs for meals while in San Francisco

                                                             19             for the Second Mediation Session ($66.12 and $69.66). There was an inadvertent

                                                             20             duplicate reimbursement to Ms. Jafari in the amount of $66.12 for which Lawyers for

                                                             21             Justice, PC will not be seeking a reimbursement – as such, Lawyers for Justice, PC

                                                             22             hereby reduces the request for reimbursement for this cost item to $353.13 from

                                                             23             $419.24. Attached as “Exhibit 16” to the Ghosh Declaration are true and correct

                                                             24             copies of the receipts for the meals and Uber transportation.

                                                             25          k. Cost item: 2/28/2017 - Romina Keshishyan - Travel Reimbursement - $1,107.78. The

                                                             26             $1,107.78 charges consist of: mileage from Ms. Keshshyan’s Los Angeles-area

                                                             27             residence to a hotel in Fresno the night before the deposition of Person Most

                                                             28             Knowledgeable Albert Perez on February 24, 2017 ($126.50 for 220 miles); cost for

                                                                                                        10
                                                                        OBJECTIONS TO MAGISTRATE JUDGE’S FINDINGS AND RECOMMENDATIONS
                                                                  Case 1:18-cv-01676-JLT-SAB Document 66 Filed 02/16/23 Page 12 of 15


                                                              1              dinner the night before the February 24, 2017 deposition ($23.18); mileage from the

                                                              2              hotel in Fresno to the deposition ($2.24 for 3.9 miles); mileage from the deposition to

                                                              3              lunch and then to Lawyers for Justice, PC’s Glendale, California office ($129.34 for

                                                              4              225 miles); costs for the lunch ($9.34); hotel accommodation for the night of February

                                                              5              23, 2017 ($227.56); mileage from Lawyers for Justice, PC’s Glendale, California

                                                              6              office to a hotel in Fresno the night before the deposition of Plaintiffs Beltran and

                                                              7              Mario Martinez on February 28, 2017 ($127.65 for 222 miles); costs for snack and

                                                              8              water ($12.85); mileage to and from the Fresno hotel to a separate meetings with

                                                              9              Plaintiffs Thomas Beltran and Mario Martinez ($11.10 for 19.3 miles); meal with

                                                             10              Plaintiff Mario Martinez ($52.34); meal with Plaintiff Beltran ($46.39); hotel
LAWYERS for JUSTICE, PC




                                                             11              accommodation for the night of February 27, 2017 ($211.64); and mileage from the
                          410 West Arden Avenue, Suite 203




                                                                             hotel in Fresno to Ms. Keshishyan’s Los Angeles-area residence ($127.65). Attached
                              Glendale, California 91203




                                                             12

                                                             13              as “Exhibit 17” to the Ghosh Declaration are true and correct copies of the receipts

                                                             14              for the meal and Uber transportation as well as the hotel accommodations.

                                                             15           l. Cost item: 3/1/2017 - Maryam Jafari - Travel Reimbursement - $112.83. The $112.83

                                                             16              charges consist of: transportation by Uber to and from the deposition of Albert Perez

                                                             17              on February 27, 2017 and the deposition of Plaintiff Thomas Beltran on February 28,

                                                             18              2017 ($6.85 and $6.10); transportation from the airport ($74.03) and costs for a meal

                                                             19              ($25.85). Attached as “Exhibit 18” to the Ghosh Declaration are true and correct

                                                             20              copies of the of the receipts for the meal and Uber transportation.

                                                             21           m. Cost item: 9/14/2017 - Elizabeth Parker - Travel Reimbursement - $134.95. Elizabeth

                                                             22              Parker is an associate attorney at Lawyers for Justice, PC who was assigned to work

                                                             23              on this matter. The $134.95 charge consists of: mileage to the Fresno Superior Court

                                                             24              for a hearing on a Motion to Enforce Court Order that took place on September 14,

                                                             25              2017 ($122.33); and costs for breakfast ($12.62).

                                                             26            Lawyers for Justice, PC has borne all of the risks and costs of litigation and will not receive

                                                             27     any compensation until recovery is obtained in this matter. Lawyers for Justice, PC seeks

                                                             28     reimbursement in the corrected and reduced amount of $40,740.18 (instead of $41,748.54) for

                                                                                                         11
                                                                         OBJECTIONS TO MAGISTRATE JUDGE’S FINDINGS AND RECOMMENDATIONS
                                                                  Case 1:18-cv-01676-JLT-SAB Document 66 Filed 02/16/23 Page 13 of 15


                                                              1     litigation costs and expenses incurred in this matter. These costs were reasonable and necessary

                                                              2     in the prosecution of the cases and to obtain the Settlement and should be allowed in full.

                                                              3               2. Objections to the Recommended Reduction in Expenses to be Awarded to Lavi &

                                                              4                   Ebrahimian, LLP

                                                              5                As set forth in the Declaration of Vincent C. Granberry in Support of Plaintiffs’ Motion for

                                                              6     Final Approval of Class and Collective Action Settlement and Motion for Attorneys’ Fees And

                                                              7     Costs and Incentive Awards filed concurrently with the Fee Motion (“Granberry Decl.”) (Doc. No.

                                                              8     60-2), Lavi and Ebrahimian, LLP has incurred a total of $14,666.97 in litigation costs and

                                                              9     expenses.2

                                                             10                The Magistrate’s Order also recommends a reduction in the fees sought by Lavi and
                                                                    Ebrahimian, LLP in the amount of $5,935.74 for mediation costs, subject to clarification in
LAWYERS for JUSTICE, PC




                                                             11
                          410 West Arden Avenue, Suite 203




                                                                    objections. The mediation fees in the amount of $5,935.74 incurred by Lavi and Ebrahimian,
                              Glendale, California 91203




                                                             12

                                                             13     LLP were reasonable and necessary in the prosecution of this matter and to obtain the Settlement
                                                                    and should be allowed in full. See Supplemental Declaration of Vincent C. Granberry filed
                                                             14
                                                                    concurrently herewith (“Supplemental Granberry Declaration” or “Granberry Supp. Decl.”) for the
                                                             15
                                                                    relevant receipts of the mediation fees paid by Lavi and Ebrahimian, LLP.
                                                             16
                                                                              3. Objections to the Recommended Reduction in Expenses to be Awarded to the Law
                                                             17
                                                                                  Office of Sahag Majarian, II
                                                             18
                                                                               As set forth in the Declaration of Sahag Majarian II in Support of Plaintiffs’ Motion for Final
                                                             19
                                                                    Approval of Class and Collective Action Settlement and Motion for Attorneys’ Fees And Costs and
                                                             20
                                                                    Incentive Awards filed concurrently with the Fee Motion (“Majarian Decl.”) (Doc. No. 60-3), the
                                                             21
                                                                    Law Offices of Sahag Majarian II has incurred a total of $6,785.72 in litigation costs and expenses.3
                                                             22
                                                                               The Magistrate’s Order also recommends a reduction in the fees sought by the Law Offices
                                                             23
                                                                    of Sahag Majarian II in the amount of $5,116.66 for mediation costs, subject to clarification in
                                                             24
                                                                    objections. The mediation fees in the amount of $5,116.66 incurred by the Law Offices of Sahag
                                                             25
                                                                    Majarian II were reasonable and necessary in the prosecution of this matter and to obtain the
                                                             26
                                                                    Settlement and should be allowed in full. See Supplemental Granberry Declaration for the relevant
                                                             27

                                                             28     2
                                                                        Grnaberry Decl., ¶ 14.
                                                                    3
                                                                        Majarian Decl., ¶ 9.
                                                                                                             12
                                                                             OBJECTIONS TO MAGISTRATE JUDGE’S FINDINGS AND RECOMMENDATIONS
                                                                  Case 1:18-cv-01676-JLT-SAB Document 66 Filed 02/16/23 Page 14 of 15


                                                              1     receipts of the mediation fees paid by the Law Offices of Sahag Majarian II.

                                                              2               4. Objections to the Reduction in Incentive Awards to Plaintiffs Beltran and Martinez

                                                              3                The Magistrate’s Order recommends the requested $7,500.00 Incentive Awards to

                                                              4     Plaintiff Beltran and Plaintiff Martinez be reduced to $5,000.00.

                                                              5                As stated in the Motion for Final Approval and Fee Motion, Plaintiffs spent a substantial
                                                                    amount of time and effort in producing relevant documents and past employment records and
                                                              6
                                                                    provided the facts and evidence necessary to attempt to prove the allegations. Plaintiffs spent
                                                              7
                                                                    numerous hours speaking with Plaintiffs’ Counsel about their claims, describing their work
                                                              8
                                                                    experiences with Defendant, and gathering, reviewing, and providing documents. Plaintiffs
                                                              9
                                                                    were available whenever Plaintiffs’ Counsel needed them and actively tried to obtain and
                                                             10
                                                                    provide information that would facilitate the pursuit of the claims in the Action. However, in
LAWYERS for JUSTICE, PC




                                                             11
                          410 West Arden Avenue, Suite 203




                                                                    addition to all that, Plaintiffs Thomas Beltran and Mario Martinez also provided responses to
                              Glendale, California 91203




                                                             12
                                                                    formal written discovery propounded by Defendant and prepared for and attended their
                                                             13
                                                                    depositions.
                                                             14                The Magistrate’s Order suggests that Judge Boon has reached the conclusion that Plaintiff
                                                             15     Rivera expanded a total of 33.5 hours in this action, Plaintiff Martinez expanded a total of 43.5 hours
                                                             16     in this action, and Plaintiff Beltran expanded a total of 49.5 hours in this action.4 This conclusion
                                                             17     ignores the hours presented in the Declarations of Plaintiffs Rivera, Martinez, and Beltran filed in
                                                             18     support of the Motion for Preliminary Approval (Doc Nos. 25-5, 25-3, and 25-4).
                                                             19                As stated in the Declaration of Mario Martinez in Support of Plaintiffs’ Motion for

                                                             20     Preliminary Approval of Class Action Settlement (Doc No. 25-4), and as pointed out by counsel for

                                                             21     Plaintiffs Beltran, Martinez, and Rivera, Ovsanna Takvoryan, at the hearing held on January 25,

                                                             22     2023, Plaintiff Martinez expanded a total of at least 64 hours in connection with this action. The

                                                             23     43.50 hours referenced in the Attorney Task and Time Chart attached as Exhibit A to the Aiwazian
                                                                    Declaration only accounts for the hours spent by Plaintiff Martinez engaging with the attorneys at
                                                             24
                                                                    Lawyers for Justice, PC.
                                                             25
                                                                               Similarly, as stated in the Declaration of Thomas Beltran in Support of Plaintiffs’ Motion
                                                             26
                                                                    for Preliminary Approval of Class Action Settlement (Doc No. 25-3), and as pointed out by counsel
                                                             27

                                                             28
                                                                    4
                                                                        See Magistrate’s Order, p. 64, FN 14.

                                                                                                             13
                                                                             OBJECTIONS TO MAGISTRATE JUDGE’S FINDINGS AND RECOMMENDATIONS
                                                                  Case 1:18-cv-01676-JLT-SAB Document 66 Filed 02/16/23 Page 15 of 15


                                                              1     for Plaintiffs Beltran, Martinez, and Rivera, Ovsanna Takvoryan, at the hearing held on January 25,

                                                              2     2023, Plaintiff Beltran expanded a total of at least 69 hours in connection with this action. The 49.50

                                                              3     hours referenced in the Attorney Task and Time Chart attached as Exhibit A to the Aiwazian

                                                              4     Declaration only accounts for the hours spent by Plaintiff Beltran engaging with the attorneys at
                                                                    Lawyers for Justice, PC.
                                                              5
                                                                              The efforts of Plaintiffs Martinez and Beltran, who spent additional hours reviewing
                                                              6
                                                                    discovery requests form Defendant, locating documents, and providing responses, and who
                                                              7
                                                                    spent additional hours preparing for depositions that lasted 4 hours for Plaintiff Martinez and 5
                                                              8
                                                                    hours for Plaintiff Beltran, and who had to spend hours traveling to get to and from the
                                                              9
                                                                    depositions, whose efforts were instrumental in providing information, data, and documents that
                                                             10
                                                                    contributed to reaching the Settlement, justifies a higher Incentive Award. (Doc Nos. 25-3 and
LAWYERS for JUSTICE, PC




                                                             11
                          410 West Arden Avenue, Suite 203




                                                                    25-4).
                              Glendale, California 91203




                                                             12
                                                                              Based on the foregoing, Plaintiffs object to the Magistrate’s Order to the extent it
                                                             13
                                                                    recommends reductions in the Incentive Awards to be awarded to Plaintiff Beltran and Plaintiff
                                                             14
                                                                    Martinez. In recognition of their efforts and work serving as Class Representatives, it is
                                                             15
                                                                    appropriate and just for Plaintiff Beltran and Plaintiff Martinez to receive Incentive Awards in
                                                             16
                                                                    the amounts of $7,500.00 as requested.
                                                             17
                                                                    II.      CONCLUSION
                                                             18
                                                                              For the reasons stated above, the Court should sustain the Plaintiffs’ Objections to the
                                                             19
                                                                    Findings and Recommendations and (1) award litigation costs and expenses in the corrected amount
                                                             20
                                                                    of $40,740.18 (instead of $41,748.54) to Lawyers for Justice, PC, (2) award litigation costs and
                                                             21
                                                                    expenses in the amount of $14,666.97 to Lavi and Ebrahimian, LLP, (3) award litigation costs and
                                                             22
                                                                    expenses in the amount of $6,785.72 to the Law Offices of Sahag Majarian II, and (4) award
                                                             23
                                                                    Plaintiffs Beltran and Martinez $7,500.00 each as an Incentive Award.
                                                             24
                                                                    Date: February 16, 2023                        LAWYERS for JUSTICE, PC
                                                             25
                                                                                                           By:     ___/s/ Ovsanna Takvoryan________
                                                             26                                                    Ovsanna Takvoryan
                                                                                                                   Joanna Ghosh
                                                             27                                                    Edwin Aiwazian
                                                                                                                   Attorneys for Plaintiffs Thomas Beltran,
                                                             28                                                    Mario Martinez, Juan Rivera and the Class

                                                                                                             14
                                                                             OBJECTIONS TO MAGISTRATE JUDGE’S FINDINGS AND RECOMMENDATIONS
